8:02-cr-00419-LES-TDT    Doc # 174   Filed: 05/10/12   Page 1 of 3 - Page ID # 913



           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:02CR419
                              )
          v.                  )
                              )
JEVAUGHN D. ERWIN,            )             MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant Jevaughn

Erwin’s motion to modify term of imprisonment, filed pro se

(Filing No. 166).       After filing the motion, Mr. Erwin was

appointed an attorney for the purpose of evaluating the

retroactive effect of the Fair Sentencing Act of 2010 on the

sentencing guidelines (Filing No. 167).            On February 6, 2012, Mr.

Erwin’s attorney filed a motion for sentence reduction, with

request for hearing (Filing No. 171).           After reviewing the

motions, the evidence, and the relevant law, the Court finds that

they should be denied.

           On September 15, 2004, at a bench trial, the Court

found Mr. Erwin guilty of Count I of the superseding indictment,

conspiracy to distribute more than 50 grams of crack cocaine

(Filing No. 56).     At the conclusion of the trial, the Court

stated as follows:

                 After reviewing all of the
                 testimony and trying to avoid
                 double-counting because the
                 defendant was both buying and
8:02-cr-00419-LES-TDT    Doc # 174    Filed: 05/10/12   Page 2 of 3 - Page ID # 914



                  selling drugs during this period of
                  time, I find that he should be held
                  responsible for an amount of drugs
                  -- I think the range that I find --
                  that I’m satisfied with beyond a
                  reasonable doubt is between 350 and
                  500 grams; not more than 500 but
                  more than 350.

                  Accordingly, I find that the
                  defendant is guilty of the crime
                  charged in the indictment –- the
                  superseding indictment; that the
                  amount of drugs that he should be
                  held responsible beyond a
                  reasonable doubt is at least 350
                  but less than 500 grams; and I
                  further find that the evidence
                  establishes . . . that the
                  defendant was in possession of a
                  gun while involved in this
                  conspiracy, in the part of the
                  conspiracy in which he was
                  involved.

(Filing No. 80, at 278:24-279:14).

           On March 5, 2008, Mr. Erwin filed a motion, pro se, for

a modification based on the revision of the guideline sentences

(Filing No. 155).       The probation officer prepared a revised

sentencing worksheet, finding that Erwin was responsible for 350-

500 grams of cocaine, and that the revised guideline range was

188-235 months.    As with the original sentence, the probation

officer took the lowest sentence in this range, 188 months,

reduced it by eleven per cent, or 21 months, to 167 months, and

gave credit for the 17 months already served, further reducing

the sentence to 150 months.          Defendant, through his attorney, and

the government stipulated to this reduced sentence (Filing No.

                                       -2-
8:02-cr-00419-LES-TDT   Doc # 174   Filed: 05/10/12   Page 3 of 3 - Page ID # 915



158), and the Court ordered the sentence reduction to 150 months

(Filing No. 159).

           With regard to the present motion, the probation office

has prepared a 2011 (revised) retroactive sentencing worksheet

for Mr. Erwin.    As in 2008, the probation officer set the amount

of cocaine charged to Mr. Erwin at 350-500 grams.              According to

the sentencing guidelines effective November 1, 2011, that amount

of crack cocaine sets the initial level at 32 (for at least 280

grams but less than 840 grams of cocaine base).             U.S. Sentencing

Guidelines Manual § 2D1.1(c) (Nov. 2011).             Adding two levels for

possession of a firearm, the level is 34.             U.S. Sentencing

Guidelines Manual § 2D1.1(b)(1) (Nov. 2011).             With a criminal

history of III, the guidelines sentencing table sets the sentence

at 188-235 months, which is the same guideline range used during

the 2008 reduction.     Thus, there is no change to the sentencing

guideline range for Mr. Erwin since the 2008 reduction.                A

separate order will be entered in accordance with this memorandum

opinion.

           DATED this 10th day of May, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ___________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




                                     -3-
